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                      EXHIBIT A
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Dear Christy,

I am writing regarding Johnson & Johnson, Inc.’s and Ethicon Inc.’s (collectively “Defendants”)
[insert date responses were served] responses to Plaintiffs’ First Request for Admissions in MDL
2327. Defendants’ responses repeatedly interpose qualified responses which, in good faith, do
not warrant qualification and are replete with extraneous, self-serving statements not necessary
to the admission or denial of the requests. Defendants’ response to RFA No. 1 is representative
of the lot, and states:

REQUEST NO. 1: Admit that you never completed a controlled study involving live women
with the actual TVT device (not a prototype) prior to marketing and selling the TVT in the U.S.

RESPONSE: Except as hereinafter expressly admitted, Defendants deny Request No. 1.
Defendants admit that they did not complete a randomized controlled trial with the actual TVT
device prior to marketing and selling the TVT in the United States, but Ethicon complied with
FDA regulations and the 510(k) clearance process.

We believe Defendants’ response to the above request and those like it are inappropriate. See,
e.g., Responses to RFA Nos. 66, 78 and 79. Virtually every response is denied except as
expressly admitted with a qualified answer. Rule 36 provides that where "good faith requires that
a party qualify an answer or deny only part of a matter," the answer to the request for admission
must “specify the part admitted and qualify or deny the rest.” Fed. R. Civ. P. 36(a)(4).
Defendants’ responses do not meet the provision permitting “good faith” qualification.

First, “good faith” does not “require” that Defendants add the self-serving statement regarding
compliance with FDA regulations and the 510(k) clearance which Defendants were not asked to
admit. This type of self-serving statement does not change the admission that Defendants never
completed a controlled study involving live women with the TVT device. It is merely gratuitous
fodder designed to minimize the impact of the admission. Qualifications are to provide clarity to
the genuineness of the issue and not obfuscate or frustrate the references. There is no clarity
provided by incorporating self-serving statements.

Second, Defendants do not state specifically what part of the request is true. Instead, they
interpose a qualified response, adding their own facts which are materially different from those
requested to be admitted. For instance, Defendants’ qualified answer inexplicably and without
explanation changes the specific terminology used in the request from “controlled study” to
“randomized controlled trial” and completely omits the reference to “live women.” Defendants
do not complain that the original terms used in the request are vague or ambiguous, so there is no
justifiable basis for altering or omitting these terms in the response. In short, Defendants should
have admitted the assertion without qualification since it is undeniable that Defendants never
completed a controlled study involving live women with the TVT device.

In addition, several responses lodge objections to requests but then purport to respond subject to
the objections. See, e.g., Responses to RFA Nos. 8, 10, 11, 15 and 17. This is improper.
See Kutner Buick, Inc. v. Crum & Foster Corp., 1995 U.S. Dist. LEXIS 12524, at 10-11, 1995
WL 508175 (E.D. Pa. Aug. 24, 1995) ("Defendant cannot have it both ways. Rule 36(a) provides
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that a matter is admitted unless the responding party denies the matter or objects to it. If an
objection is made, the rule requires that the responding party shall set forth the reasons for the
objection. The rule does not state that a party may also deny the request in case the reviewing
court does not accept its reasons for objecting.”).

Finally, Defendants assert several objections to various phrases used in the requests even though
the context in which the phrases are used is clear and the meaning is well known to your clients.
See, e.g., Responses to RFA Nos. 15 and 78. As courts have repeatedly held, in responding to
requests for admissions parties should exercise reason and common sense to attribute an ordinary
definition to the phrase used. Deakins v. T.S. Pack, 2012 U.S. Dist. LEXIS 9409, at 88, 2012 WL
242859 (S.D. W. Va. Jan. 25, 2012).

We request that Defendants admit or deny each request in the first set of RFAs with its “good
faith” obligations in mind. Please let us know if you would like to further discuss your
objections. However, in the absence of any substantive response to these RFAs by Friday,
December 30, we will have no choice but to file a motion with the court asking that our RFAs be
deemed admitted.
